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GARVEY, BALLOU
A PROFESSIONAL CORPORATION

COUNSELLORS AT LAW
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Attorneys for          defendant, Costco Wholesale Corp
Our File No.             131.25669- RAB/dg
Attorney ID#:

                                                UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF NEW JERSEY
    SVETLANA VOLOCHINSKY
                                                   DOCKET NO. MID-L-2131-22
                        Plaintiff(s),
    vs.                                                     Civil Action

    COSTO WHOLESALE CORP, JOHN                  NOTICE TO ADVERSARY OF REMOVAL OF
    DOE EMPLOYEES 1-10 (SAID                                  ACTION
    NAMES BEING FICTITIOUS AS
    THEIR IDENITIES ARE PRESENTLY
    UNKNOWN) JOHN DOES A-Z
    MANAGEMENT COMPANY (SAID
    NAMES BEING FICTITIOUS AS
    THEIR IDENTITES ARE PRESENTLY
    UNKNOWN), JOHN DOES 1-10
    MANAGER (SAID NAMES BEING
    FICTITIOUS AS THEIR IDENTIES
    ARE PRESENTLY UNKNOWN), JOHN
    DOES A-Z MAINTENANCE
    PERSONNEL, (SAID NAMES BEING
    FICTITIOUS AS THEIR IDENTITY
    ARE PRESENTLY UNKNOWN)

                        Defendant(s)




TO:       Brandon Broderick, Esq
          65 State Highway 4 East
          River Edge NJ 07661

Sir/Madam:

      PLEASE TAKE NOTICE that in the above-entitled action, defendant, Costco
Wholesale Corporation, have this day filed a Notice of Removal, a copy of which
is attached hereto, in the Office of the Clerk of the United States District
Court for the District of New Jersey. You are also advised that the defendant,
upon filing of said Notice of Removal, filed a copy of the Notice with the Clerk
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of the Superior Court of New Jersey, Law Division, Middlesex County, which has
effected this removal, in accordance with 28 U.S.C. § 1446 (B).




                                          GARVEY BALLOU

                                    BY:   /s/ Robert A. Ballou, Jr.
                                          ROBERT A. BALLOU, JR
                                          Attorneys for Defendant
                                          Costco Wholesale Corporation
DATED:      May 13, 2022
